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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  (Northern Division)

DAVID J. BOSHEA                              *
                                             *
       Plaintiff/Counter-Defendant,          *
                                             *      Case No. 1:21-CV-00309-ELH
       v.                                    *
                                             *
COMPASS MARKETING, INC.                      *
                                             *
       Defendant/Counter-Plaintiff           *
                                             *
AND                                          *
                                             *
COMPASS MARKETING, INC.                      *
                                             *
       Third-Party Plaintiff,                *
                                             *
       v.                                    *
                                             *
JOHN DOE(S)                                  *
                                             *
       Third-Party Defendant(s).             *
                                             *
*      *       *      *       *      *       *      *       *      *       *      *      *

                          DAVID J. BOSHEA’S STATUS REPORT

       Plaintiff/Counter-Defendant David J. Boshea submit the following status report:

Status of Pleadings

1. On February 5, 2021, David Boshea initiated this lawsuit by filing a two-count complaint

    seeking to collect damages for breach of contract and the Violation of the Maryland Wage

    Payment and Collection Act.

2. David Boshea subsequently amended his complaint twice with the current Second Amended

    Complaint before the Court. The pending complaint contains claims for breach of contract and

    violation of the Maryland Wage Payment and Collection Law and a count pled in the

    alternative alleging a Violation of the Illinois Wage Payment and Collection Act.
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3. Compass Marketing answered the pending complaint by generally denying the substantive

   allegations, including asserting that someone forged the signature of its chairman, John White.

4. Compass filed a counterclaim against David Boshea and unnamed John Doe parties alleging

   that David Boshea, in concert with the unknown parties, delivered a copy of his original

   complaint to a real estate broker and architect, who then stopped doing business with Compass

   Marketing. Compass Marketing also alleges in a second count that David Boshea received

   approximately $51,800.00 from Compass Marketing in “off payroll payment” in increments

   of approximately $350.00 that were above and beyond his agreed upon compensation.

5. David Boshea answered the counterclaim by generally denying the substantive allegations.

6. The time for amending pleading has passed.

   Progress of Discovery. The parties have completed discovery other than the following:

1. The parties have exchanged written discovery, which they have answered except for Defendant

   Compass Marketing, Inc’s Second Set of Interrogatories to Plaintiff David J. Boshea and

   Defendant Compass Marketing, Inc’s Fourth Request for Production of Documents to Plaintiff

   David J. Boshea, which David Boshea asserts were untimely. Thus, David Boshea is not

   required to respond.

2. At this time, David Boshea has taken the deposition of John Adams, who is a Compass

   Marketing employee. Compass Marketing took Michael White and Daniel White depositions.

3. David Boshea scheduled the deposition of Compass Marketing’s former chairman, John White,

   and Compass Marketing noticed David Boshea’s deposition. On the eve of John White’s

   testimony, Compass Marketing’s attorneys informed David Boshea’s attorney that John White

   had been exposed to Covid-19 and was experiencing symptoms.          Because of John White’s

   illness, the parties postponed John White and David Boshea’s depositions. The parties



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   rescheduled John White and David Boshea’s depositions for January 13 and 14, 2022. On

   January 12, Compass’ attorneys informed David Boshea’s counsel that John White had once

   again been exposed to Covid-19 and was experiencing symptoms. According to counsel, John

   White’s initial illness was not Covid. Due to John White’s medical situation, the parties

   postponed both depositions.

4. The parties discussed rescheduling John White and David Boshea’s deposition during the week

   of January 24, 2022, which did not occur. In communications during the week of March 7,

   2022, David Boshea learned that Compass refused to voluntarily present John White for his

   deposition, despite his declination to sit for his twice scheduled depositions before the

   discovery cutoff. As a result, David Boshea anticipates filing a motion allowing him to depose

   John White.

   Status of Unresolved Motions. One motion pends before the Court:

5. On February 15, 2022, Compass Marketing filed Defendant/Counter-Plaintiff’s Compass

   Marketing, Inc.’s Motion for Partial Summary Judgment (CM/ECF 93) and a supporting

   memorandum (CM/ECF 93-1). David Boshea timely filed his David J. Boshea’s Response in

   Opposition to Compass Marketing, Inc.’s Motion for Partial Summary Judgment (CM/ECF

   95). The deadline for Compass Marketing’s reply, if any, will be March 15, 2022.

Settlement Efforts.

6. The parties have exchanged settlement proposals; however, the magistrate judge advised the

   parties that the likelihood of settlement through mediation appears remote.

Magistrate Judge




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7. David Boshea, under 28 U.S.C. § 636(c), consents to have a United States Magistrate Judge

   conduct all further proceedings in this case, either before or after the resolution of any

   dispositive pretrial motion, including trial and entry of final judgment.

Dated: March 8, 2022

                                             Respectfully submitted,

                                             DAVID JOHN BOSHEA

                                             By: /s/ Gregory J. Jordan

                                             Gregory J. Jordan

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                                CERTIFICATE OF SERVICE

      Gregory Jordan certifies that he served David J. Boshea’s Status Report on counsel for

Compass Marketing, Inc., through the Court’s CM/ECF system and by email to

stern@kaganstern.com, rudiger@kaganstern.com, and yeung@kaganstern.com on March 8, 2022.


                                            /s/ Gregory J. Jordan
                                                Gregory J. Jordan
